                                  Case 23-11255-TMH                 Doc 1        Filed 08/25/23           Page 1 of 14


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                     Chapter       7
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                USASF National Corp.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  c/o The Corporation Trust Company
                                  1209 Orange Street
                                  Wilmington, DE 19801
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  New Castle                                                    Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
                                   Case 23-11255-TMH                    Doc 1        Filed 08/25/23            Page 2 of 14
Debtor    USASF National Corp.                                                                     Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                     Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check        Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                               When                                Case number
                                                 District                               When                                Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                       Case 23-11255-TMH                      Doc 1      Filed 08/25/23             Page 3 of 14
Debtor    USASF National Corp.                                                                          Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      See Attachment A                                             Relationship

                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or              No
    have possession of any
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                           5001-10,000                               50,001-100,000
                                        50-99
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
                            Case 23-11255-TMH               Doc 1       Filed 08/25/23             Page 4 of 14
Debtor   USASF National Corp.                                                        Case number (if known)
         Name


16. Estimated liabilities    $0 - $50,000                             $1,000,001 - $10 million               $500,000,001 - $1 billion
                             $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                             $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                             $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
                                 Case 23-11255-TMH                    Doc 1         Filed 08/25/23             Page 5 of 14
Debtor    USASF National Corp.                                                                     Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 25, 2023
                                                  MM / DD / YYYY


                             X /s/ Mark Houston                                                           Mark Houston
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Restructuring Officer




18. Signature of attorney    X /s/ G. David Dean                                                           Date August 25, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 G. David Dean
                                 Printed name

                                 Cole Schotz P.C.
                                 Firm name

                                 500 Delaware Avenue
                                 Suite 1410
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     302-652-3131                  Email address      ddean@coleschotz.com

                                 Bar No. 6403 DE
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                  Case 23-11255-TMH         Doc 1     Filed 08/25/23      Page 6 of 14




                                         ATTACHMENT A

                                    SCHEDULE OF DEBTORS

       On the date hereof, each of the affiliated entities listed below (including the debtor in this
chapter 7 case) filed in this Court a petition for relief under chapter 7 of title 11 of the United States
Code.

                                                                             Federal Employer
                              Debtors
                                                                           Identification Number

 1.       U.S. Auto Sales, Inc.                                        XX-XXXXXXX

 2.       U.S. Auto Finance, Inc.                                      XX-XXXXXXX

 3.       U.S. Auto Receivables Financing, LLC                         XX-XXXXXXX

 4.       USASF LLC                                                    XX-XXXXXXX

 5.       USASF National Corp.                                         XX-XXXXXXX

 6.       USASF Servicing LLC                                          XX-XXXXXXX




66030/0001-45922807v1
Case 23-11255-TMH   Doc 1   Filed 08/25/23   Page 7 of 14




                                                            6th
Case 23-11255-TMH   Doc 1   Filed 08/25/23   Page 8 of 14
Case 23-11255-TMH   Doc 1   Filed 08/25/23   Page 9 of 14
                       Case 23-11255-TMH            Doc 1     Filed 08/25/23      Page 10 of 14




                                         United States Bankruptcy Court
                                                   District of Delaware
 In re   USASF National Corp.                                                        Case No.
                                                            Debtor(s)                Chapter    7




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for USASF National Corp. in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
USASF LLC
c/o The Corporation Trust Company
1209 Orange Street
Wilmington, DE 19801




 None [Check if applicable]




August 25, 2023                                /s/ G. David Dean
Date                                           G. David Dean
                                               Signature of Attorney or Litigant
                                               Counsel for USASF National Corp.
                                               Cole Schotz P.C.
                                               500 Delaware Avenue
                                               Suite 1410
                                               Wilmington, DE 19801
                                               302-652-3131 Fax:302-652-3117
                                               ddean@coleschotz.com
                                Case 23-11255-TMH                    Doc 1      Filed 08/25/23            Page 11 of 14
B2030 (Form 2030) (12/15)
                                                       United States Bankruptcy Court
                                                                     District of Delaware
 In re       USASF LLC, U.S. Auto Sales, Inc., USASF National Corp., USASF                                    Case No.
             Servicing LLC, U.S. Auto Finance, Inc., U.S. Auto  Debtor(s)                                     Chapter       7
             Receivables Financing, LLC
                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                360,552.84
             Prior to the filing of this statement I have received                                        $                360,552.84
             Balance Due                                                                                  $                       0.00

2.   $      2,028.00      of the filing fee has been paid.

3.   The source of the compensation paid to me was:

              Debtor            Other (specify):

4.   The source of compensation to be paid to me is:

              Debtor            Other (specify):

5.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.
          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. [Other provisions as needed]
             The above-disclosed fees relate solely to pre-petition fees and expenses. For post-petition fees and expenses to
             be incurred, Cole Schotz has agreed to represent the Debtors through the conclusion of the 341 meetings, at its
             customary rates, and separately bill those amounts to the Debtors post-petition and apply those amounts to its
             remaining retainer. Cole Schotz's post-petition engagement excludes any adversary proceedings or other
             litigation that may be filed in the Chapter 7 cases.

7.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtor after the conclusion of the meeting of creditors under section 341 of the Bankruptcy
             Code.
             Representation of the debtor in any adversary proceeding or other contested bankruptcy matter.
             The above amount includes all pre-petition fees and expenses (including the filing fees for these cases) of Cole
             Schotz on behalf of the Debtor and its affiliates. It does not include any post-petition fees and expenses, which
             will be separately billed and secured by the remaining portion of Cole Schotz's retainer, which totals $14,447.16
             as of the Petition Date.
                            Case 23-11255-TMH                  Doc 1       Filed 08/25/23            Page 12 of 14

In re    USASF LLC, U.S. Auto Sales, Inc., USASF National Corp., USASF                              Case No.
         Servicing LLC, U.S. Auto Finance, Inc., U.S. Auto    Debtor(s)
         Receivables Financing, LLC
                    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                       (Continuation Sheet)
                                                                CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

   August 25, 2023                                                       /s/ G. David Dean
   Date                                                                  G. David Dean
                                                                         Signature of Attorney
                                                                         Cole Schotz P.C.
                                                                         500 Delaware Avenue
                                                                         Suite 1410
                                                                         Wilmington, DE 19801
                                                                         302-652-3131 Fax: 302-652-3117
                                                                         ddean@coleschotz.com
                                                                         Name of law firm
                          Case 23-11255-TMH                Doc 1        Filed 08/25/23        Page 13 of 14




                                                United States Bankruptcy Court
                                                          District of Delaware
 In re   USASF National Corp.                                                                    Case No.
                                                                     Debtor(s)                   Chapter      7




                                   VERIFICATION OF CREDITOR MATRIX


I, the Chief Restructuring Officer of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is

true and correct to the best of my knowledge.




Date:     August 25, 2023                                /s/ Mark Houston
                                                         Mark Houston/Chief Restructuring Officer
                                                         Signer/Title
                Case 23-11255-TMH       Doc 1   Filed 08/25/23   Page 14 of 14



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    MidCap Financial Trust
    7255 Woodmont Ave
    Suite 300
    Bethesda, MD 20814

    U.S. Auto Finance, Inc.
    P.O. Box 1203
    Lawrenceville, GA 30046

    U.S. Auto Sales, Inc.
    1855 Satellite Blvd, Suite 100
    Duluth, GA 30097

    USASF LLC
    c/o The Corporation Trust Company
    1209 Orange Street
    Wilmington, DE 19801

    USASF Servicing LLC
    1855 Satellite Blvd.
    Suite 100
    Duluth, GA 30097
